Case 2:04-cr-20320-SH|\/| Document 56 Filed 04/21/05 Page 1 of 2 Page|D 68

IN THE UNITED sTATEs DISTRICT coURT arm z§,.
FoR THE wEsTERN DISTRICT oF TENNESSEE _A M_‘
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UNITED STATES OF AMERICA,
Plaintiff,

vs. CR. NO, 04-20320-0l-Ma

ERIC CARL JOHNSON,

~_,-_/~_-._.¢V~_rv~_/-_p

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on March 25, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial date to
the rotation docket beginning May 2, 2005 at 9:30 a.m., with a
report date of Thursday, April 21, 2005 at 2:00 p.m.

The period. fron\ March 25, 2005 through May l3, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

IT rs so 0RDERED this 1‘°*1\ day of April, 2005.

.M/M_

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

Thls document entered on the docket sheet ln compliance
w|th Ru|e 55 and/or 32{b) FRCrP on '0.3

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 56 in
case 2:04-CR-20320 Was distributed by faX, mail, or direct printing on
April 21 , 2005 to the parties listed.

 

Stephen R. Left]er
LEFFLER LAW OFFICE
707 Adams Ave.
Memphis7 TN 38105

Scott F. Leary

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

